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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the cases listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION

8:95CR113                                            US v. James Strawn
8:96CR120                                            US v. Meylan Special Services, Inc.
8:96CR149                                            US v. Apolonio R. Moreno
8:96MJ1                                              US v. Mark Matthew Maddy
8:97CR215                                            US v. Ayite Ose Codjo
8:98CR31                                             US v. Christopher J. Negroni
8:98CR122                                            US v. Ronald Cooke
8:99CR208                                            US v. Homer Escarcega
8:99CR229                                            US v. Rigoberto Jimenez, Jr.
8:99CR265                                            US v. Blackbird Sheridan
8:00CR11                                             US v. Cindy Lou Cates, et al.
8:00CR12                                             US v. Alvarez
8:00CR144                                            US v. Laura Seger
8:02CR238                                            US v. Donald Asay, et al.
8:02CR308                                            US v. Harold Fox
8:02CR382                                            US v. Angel Velazquez
8:02CR429                                            US v. William Monier
8:02CR177                                            US v. Timothy A. Kruse
8:02CR424                                            US v. Otis Alvin Holford
8:03CR13                                             US v. Ortiz-Ramirez
8:03CR59                                             US v. Jose Luis Hernandez-Garcia
8:03CR69                                             US v. Jimenes-Lopez
8:03CR84                                             US v. Chiwanda Ammons
8:03CR87                                             US v. English
8:03Cr128                                            US v. Escobar, et al.
8:03CR332                                            US v. Aaron Shanle
8:03CR472                                            US v. Garcia
8:03CR506                                            US v. Chacon
8:03CR512                                            US v. Salgado-Campos
8:03CR566                                            US v. Leslie Fisher, et.al.
8:03CR572                                            US v. Rahn
8:03CR577                                            US v. Hunt
8:04CR260                                            US v. John P. Blazka
8:04CR261                                            US v. Bogacki
8:04CR313                                            US v. Jose Luis Bravo-Lopez
8:04CR340                                            US v. Samuel Howell
8:04CR373                                            US v. Pantoja-Mendez, et al.
8:04CR396                                            US v. McBride
8:04CR405                                            US v. John Synovec
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8:04CR425                                       US v. Rodriguez
8:04CR491                                       US v. Miller
8:04CR500                                       US v. Gary Bauman
8:04CR512                                       US v. Romero
8:04CR515                                       US v. Bowles
8:04CR536                                       US v. John Eric Estle
8:05CR5                                         US v. Lynn
8:05CR73                                        US v. Cruz, et al.
8:05CR94                                        US v. Jose Elias Garcia, et al.
8:05CR118                                       US v. Chaney
8:05CR119                                       US v. Corrales-Wyant
8:05CR143                                       US v. Michael Floyd
8:05CR170                                       US v. Homero Barreras Gastelum
8:05CR204                                       US v. Purdy
8:05CR221                                       US v. Sheridan
8:05CR224                                       US v. Juvenile 1 & 2
8:05CR238                                       US v. Nungaray-Calderon
8:05CR244                                       US v. Whitesel
8:05CR253                                       US v. Gottsch, et al.
8:05CR260                                       US v. Jeremy Trausch
8:05CR261                                       US v. Jamal Wright
8:05CR272                                       US v. Alan Erickson
8:05CR347                                       US v. Fruto Madrid-Cruz
8:05CR387                                       US v. Juan Antonio Garcia
8:05CR445                                       US v. Jones
8:06CR85                                        US v. Luis Macedo
8:06CR144                                       US v. John Vandry
8:06CR241                                       US v. Tyler Peneaux



     DATED this 24th day of May, 2007.


                                          BY THE COURT

                                          s/Joseph F. Bataillon
                                          Chief United States District Judge
